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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


     ANTHONY DALE, BRETT JACKSON,
     JOHNNA FOX, BENJAMIN
     BORROWMAN, ANN LAMBERT,                          Case No. 1:22-cv-03189
     ROBERT ANDERSON, and CHAD
     HOHENBERY on behalf of themselves and            Hon. Thomas M. Durkin
     all others similarly situated,
                                                      Hon. Jeffrey Cole
                       Plaintiffs,

                  v.                                  JOINT STATUS REPORT

     DEUTSCHE TELEKOM AG, T-MOBILE
     US, INC., and SOFTBANK GROUP
     CORP.,

                       Defendants.



          Pursuant to this Court’s November 3, 2023 Order (ECF No. 115), Plaintiffs and

Defendant T-Mobile US, Inc. (“T-Mobile” and, together, “the parties”) file this Joint Status

Report.

I.        The Nature of the Case

          Attorneys of Record for Each Party. Attorneys of record for Plaintiffs are Brendan P.

Glackin (lead trial attorney), Lin Y. Chan, Nicholas W. Lee, Sarah D. Zandi, and Jules A. Ross

of Lieff Cabraser Heimann & Bernstein, LLP; Gary I. Smith, Jr. and Marcus Hill Brakefield of

Hausfeld LLP.; Eric L. Cramer and Robert E. Litan of Berger Montague PC; and Joel A.

Flaxman and Kenneth N. Flaxman of Kenneth N. Flaxman, P.C.

          Attorneys of record for T-Mobile are Rachel S. Brass, Daniel G. Swanson, Rodney J.

Stone, Josh Krevitt, and Theodore J. Boutrous, Jr. of Gibson, Dunn & Crutcher LLP; Brian

Smith, Clifford Histed, and Michael Martinez of K&L Gates LLP.

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          Basis for Federal Jurisdiction. This Court has subject matter jurisdiction over this action

pursuant to Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 26, and 28 U.S.C. §§ 1331,

1337.

          Nature of Claims. As this Court summarized, “Plaintiffs, representing a proposed class

of AT&T and Verizon customers, filed this suit under the federal antitrust statutes challenging

the April 2020 merger between T-Mobile and Sprint.” ECF No. 114 at 1. There are no counter-

claims. Plaintiffs request treble damages for overcharges, injunctive relief to remediate the

anticompetitive effects of the merger, as well as an award of attorneys’ fees and expenses.

II.       Pending Motions and Case Plan

          Pending Motions. Plaintiffs anticipate filing a motion to appoint interim co-lead counsel.

T-Mobile takes no position on this motion and does not anticipate filing a response. T-Mobile

intends to file a motion seeking interlocutory review of the motion to dismiss order pursuant to

28 U.S.C. 1292(b). The parties agree on the following schedule: T-Mobile’s motion to be filed

November 28, 2023; Plaintiffs’ opposition to be filed on December 14, 2023, and T-Mobile’s

reply to be filed on December 22, 2023.

          General Type of Discovery Needed. The parties held a Rule 26(f) conference on

November 10, 2023. The parties expect a wide range of party discovery, including e-mails, text

messages, general documents, interrogatories, requests for admission, non-custodial data, and

depositions. It will be necessary to obtain discovery from third parties, including from AT&T,

Verizon, and others.

          The parties agree to the following discovery deadlines:

         Date to first issue written discovery: November 13, 2023;
         Deadline to amend pleadings: October 24, 2024;
         Discovery completion date: November 13, 2025.

Plaintiffs also respectfully suggest that, beginning in 2024, it would be advantageous for this
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Court to order a status conference every 60 days to ensure the efficient resolution of this action

and adherence to the proposed case schedule. Seven days prior to each status conference, the

parties will file a joint status report on the progress of discovery and any other pertinent matters.

Defendant T-Mobile believes this proposal is premature, and that it encourages the parties to

present disputes to the Court, rather than to seek resolution without Court intervention.

       Expert Discovery Relevant to Dispositive Liability Motions. The parties are meeting and

conferring about an expert discovery schedule and have agreed to present any remaining disputes

regarding that schedule in their joint Rule 16 report, to be filed on January 24, 2024 unless

otherwise ordered. At this point, the parties agree that expert discovery relevant to damages

overlaps with issues to be litigated at class certification and with expert merits discovery and that

deferring such discovery is not practical given the nature of Plaintiffs’ claims.

       E-Discovery. Discovery will encompass electronically stored information (ESI). The

parties outlined their plan in an ESI protocol submitted to the Court on October 16, 2023, which

has not yet been ruled upon. Plaintiffs anticipate ESI disputes arising out of non-party discovery,

which may require litigation outside of the Northern District of Illinois. T-Mobile also notes that

discoverable ESI will likely include confidential non-party information subject to notification

requirements and possible objections to production by those non-parties.

       Jury Trial Requested. Plaintiffs request a jury trial. The parties believe the probable trial

length ranges from fifteen to thirty trial days, but reserve rights to modify their positions.

III.   Consent to Proceed Before a Magistrate Judge

       The parties do not consent to proceed before a Magistrate Judge for all matters in the

case, including dispositive motions and trial.

IV.    Status of Settlement Discussions

       The parties have not engaged in settlement discussions due to the uncertainty of damages,
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and do not believe such discussions would be productive at this time. Should this change, the

parties will inform the Court.



 Dated: November 28, 2023               /s/ Brendan P. Glackin
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                                CERTIFICATE OF SERVICE

       I, Brendan P. Glackin, an attorney, hereby certify that this Joint Status Report was

electronically filed on November 28, 2023 and will be served electronically via the Court’s ECF

Notice system upon the registered parties of record.

                                               Respectfully submitted,

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